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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        :   No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X




  DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
                     COMPEL ARBITRATION




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                                 PRELIMINARY STATEMENT

       Defendants respectfully move to stay this action in favor of an order compelling Plaintiffs

to arbitrate the state law claims that survived Defendants’ motion to dismiss. Plaintiffs are four

men and women who paid $499 to American Communications Network (“ACN”), a multi-level

marketing company, for the right to market ACN products and services, and who failed to recoup

those fees. Before enrolling in ACN, Plaintiffs were required to agree in writing to resolve any

dispute with ACN “arising out of or relating to” their agreement through binding arbitration.

       Between 2006 and 2015, Mr. Trump provided celebrity endorsement services to ACN by

appearing in ACN-branded videos and magazine articles and at ACN-branded events for which

he was paid. According to Plaintiffs, Mr. Trump fraudulently touted the ACN business

opportunity, promising recruits they stood to make money when they did not. In truth, Plaintiffs

allege, ACN was a fraud designed to enrich its owners at the expense of those the company

targeted. The Complaint declares ACN “central to” the claims asserted against Defendants, and

Mr. Trump’s endorsement “critical” to the company’s success. “It was ACN’s ability to

associate itself with the Trump brand – a right that ACN secretly bought from the Trump

Enterprise – that drove the fraudulent message home and pushed investors to overcome lingering

doubts and invest in the ACN business opportunity,” they allege.

       In an obvious bid to avoid arbitration, Plaintiffs chose not to sue the primary violator.

But under settled principles of agency and equitable estoppel, Defendants may compel Plaintiffs

to arbitrate the claim against them. That is because the Complaint alleges Defendants and ACN

acted in concert to defraud Plaintiffs, and the claims against Defendants all arise from ACN’s

alleged failure to perform under the contracts it signed with Plaintiffs. In circumstances like

these – Second Circuit precedent holds – it is unfair to allow Plaintiffs to avoid arbitrating their
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claims with Defendants simply because Defendants did not sign the contracts.

       This motion is timely because Plaintiffs cannot establish prejudice from the delay

between the filing of the action and Defendants raising with the Court their intention to seek to

compel Plaintiffs to arbitrate. Defendants have not yet answered the Complaint, and discovery

was stayed. Other than Plaintiffs’ motion to proceed pseudonymously and Defendants’ motion

to stay discovery, the only litigation in this Court was Defendants’ Rule 12(b)(6) motion – and

Defendants notified the Court of their intention to compel Plaintiffs to arbitrate before that

motion was decided. Litigation costs, such as those incurred by Plaintiffs to oppose the motion

to dismiss and amend the complaint, as a matter of law do not support waiver. Further, over

Defendants’ strenuous objection, the Court in this case permitted Plaintiffs to shield their

identities not only from the public docket, but also from Defendants, pending decision on the

motion to dismiss. As a result, Defendants did not know Plaintiffs’ names and could not

discover from ACN the arbitration agreements at issue beforehand.

                               PROCEDURAL BACKGROUND

       On October 29, 2018, Plaintiffs filed this action under pseudonyms. On December 20,

2018, over Defendants’ objection, the Court ruled that Plaintiffs could remain anonymous, not

only on the docket but from Defendants as well. (ECF No. 59 at pages 25-29.) To ameliorate

the prejudice to Defendants associated with that ruling, the Court cautioned that it would permit

Plaintiffs to remain anonymous until decision on Defendants’ anticipated motion to dismiss.

(ECF No. 59 at page 29 (“If the case survives [the motion to dismiss], Plaintiffs may renew the

motion at that time”).) On January 14, 2019, Defendants moved to dismiss the Complaint for

failure to state a claim. (ECF Nos. 65 & 66.) Rather than oppose that motion, Plaintiffs filed the

Amended Complaint. (ECF No. 77.) On February 21, 2019, Defendants moved to dismiss the



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Amended Complaint for failure to state a claim. (ECF Nos. 84 & 85.) On March 14, 2019, that

motion was fully submitted. (ECF Nos. 86 & 90.) Four months later, on July 11, 2019, with

decision on the motion to dismiss still pending, Defendants advised Plaintiffs that, were the

Court to deny the motion (or to grant it with permission to replead), Defendants would seek to

stay whatever remained of the action in favor of arbitration. (ECF No. 94, Ex. A). Plaintiffs

responded (id., Ex. B), and on July 19, 2019, Defendants submitted the parties’ correspondence

to the Court, stating:

        The Court’s Individual Rules and Procedures ordinarily do not provide for such
        correspondence to be filed with the Court. Because the contemplated motion to
        compel arbitration would be dispositive, if granted, and because there is already
        pending a dispositive motion, we write respectfully to request the Court’s
        guidance as to how to proceed. (ECF No. 94.)

        On July 24, 2019, the Court issued an order dismissing Plaintiffs’ RICO claims for failure

to state a claim and retaining jurisdiction over the state law claims (ECF No. 97), thereby

dissolving Plaintiffs’ right to remain anonymous. On July 31, 2019, Defendants requested that

Plaintiffs disclose their identities. (ECF No. 104, Ex. B.) Plaintiffs refused. (ECF No. 104 at 9-

10.) On September 5, 2019, the Court held a pretrial conference at which it suggested that

Defendants had waived their right to compel arbitration by filing a Rule 12(b)(6) motion. 1

Defendants argued they should be permitted to conduct limited discovery in order to obtain

Plaintiffs’ arbitration agreements and noted Plaintiffs still had not disclosed their identities to

Defendants. (See ECF No. 104 at 9-10.) The Court rejected those arguments, directing

Defendants to brief the issue of waiver, only. The next day, the Court issued an order directing

Defendants to file “a motion to compel arbitration” and to “assume only for purposes of the

motion that Plaintiffs and the putative class members agreed with ACN to arbitrate.” (ECF No.


1
 There is no transcript or tape recording of the September 5 conference. Defendants sought to order the transcript
on that date; the court reporters informed Defendants that the Court had conducted the conference off the record.

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106.) The Court further instructed Defendants to file with this motion copies of the unsigned

agreements at issue. (Id.) Plaintiffs do not deny that they signed agreements in the form of those

attached to this memorandum or that they agreed to arbitrate disputes with ACN arising from

those agreements. Nor have Plaintiffs contested the enforceability of any term of the arbitration

provisions, and Defendants would be willing to discuss waiver were they to do so.

                                              RELEVANT FACTS

           A.       The ACN Business Opportunity

           ACN is a multi-level marketing company that operates from its headquarters in Concord,

North Carolina through a network of thousands of representatives who pay ACN for the right to

market ACN products and services directly to customers and who recruit others to do the same.

(Compl. ¶¶ 80-81; ECF No. 85, Exh. 1 at 1.) Founded in 1993, ACN describes itself as the

world’s largest “direct seller” of telecommunications and essential services for home and

business. (ECF No. 85, Exh. 1 at 1-2.) ACN encourages individuals to become “Independent

Business Owners” (“IBOs”). (Compl. ¶ 80.) Plaintiffs became IBOs in 2013 (Mary Moe), in

2014 (Luke Loe and Jane Doe), and in 2016 (Richard Roe), which entitled them to market ACN

products and services directly to their own customers and to recruit others to do the same. (Id.

¶ 181 (Doe); id. ¶¶ 220 (Loe); id. ¶ 235 (Roe); id. ¶ 259 (Moe).) IBOs pay an initial sign-up fee

and an annual renewal fee in order to be able to sell ACN’s products and services. (Id. ¶ 80.)

Between 2013 and 2016, the sign-up fee was $499 and the renewal fee was $149. (Id.) An IBO

could earn small commissions on sales and billings to customers who purchase ACN products

and services through the IBO, with additional bonuses for meeting sales targets. (Id. ¶ 81.)

IBOs could also earn money by recruiting others to sign up as IBOs. 2 (Id.)



2
    Citations to the Complaint refer to the Amended Complaint, filed at ECF No. 77.

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        The “lifeblood” of ACN’s recruiting operation is small group events hosted by IBOs in

their homes or at local hotels and event spaces. (Id. ¶ 82.) To help IBOs in their sales and

recruitment efforts, ACN sells a series of “Business Tools,” including DVDs (branded

“Opportunity Discs”) and magazines. (Id.) At these small-group recruiting events, hosts

typically play the DVDs and distribute the materials they have bought from ACN. (Id. ¶ 83.)

Three of the four Plaintiffs began their association with ACN in this fashion, at small-group

meetings. (Id. ¶¶ 183-96 (Doe); id. ¶¶ 220, 222-25 (Loe); id. ¶¶ 260-69 (Moe).)

        Before enrolling, IBOs must enter into an ACN Independent Business Owner Agreement

in which they agree to submit any disputes with ACN arising from that agreement to mandatory

arbitration. 3 In 2013 and 2014, when Plaintiffs Moe, Doe and Loe became IBOs, the IBO

Agreements provided: “In the event of a dispute between me and ACN as to our respective

rights, duties and obligations arising out of or relating to this Agreement, it is agreed that such

disputes shall be exclusively resolved through binding arbitration before the [‘AAA’] pursuant to

the Commercial Rules of Arbitration.” In 2016, when Plaintiff Roe signed up, the IBO

Agreement stated that, “In the event of a dispute between ACN and me as to our respective

rights, duties and obligations arising out of or relating to this Agreement, it is mutually agreed

that such disputes shall be exclusively resolved through . . . binding arbitration before the [AAA]

pursuant to the Commercial Rules of Arbitration. Both ACN and I agree that all disputes will be

resolved on an individual basis and that each may only bring claims against the other in an

individual capacity (and not as a claimant or class member in any purported class or

representative proceeding).” Defendants are not signatories to these agreements.



3
 Attached hereto as Exhibits A-C, as directed by the Court (ECF No. 106), are true and correct copies of
unexecuted ACN IBO Agreements issued by ACN in 2013, 2014 and 2016, previously filed at ECF No. 85, Ex. 7-9.
The provisions excerpted herein are referred to collectively as “The Arbitration Agreement.”

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        Between 2006 and 2015, Mr. Trump provided celebrity endorsement services to ACN, by

appearing in ACN promotional videos and magazine articles and at ACN events for which he

was paid. (Compl. ¶¶ 88-96.) ACN-branded videos viewed by Plaintiffs contained the following

types of statements by Mr. Trump:

   a. “ACN has a reputation for success. Success that’s really synonymous with the Trump
      name … and you can be a part of it.” (Compl. ¶¶ 116, 212, 226, 254, 264.)

   b. “You have a great opportunity before you at ACN without any of the risks most
      entrepreneurs have to take. You have the ability to market breakthrough technology
      before it hits the critical mass. I’ve experienced the opportunity that exists when you’re
      able to jump ahead of the curve, and ACN gives you that opportunity.” (Id. ¶¶ 107, 212,
      226, 254, 265.)

   c.    “Direct selling is actually one of the oldest, most respected business models in the world.
        And has stood the test of time most importantly. ACN approaches it with a fresh
        perspective that you won’t find anywhere else. I know what it takes to be a success and
        ACN has a winning business model, and I mean winning.” (Id. ¶¶ 114, 226, 254).

   d. “ACN provides you with everything you need to be successful. All the training, support
      and tools, combine that hard work and commitment and you’ll be well on your way to
      living the lifestyle that you deserve.” (Id. ¶¶ 119, 254.)

(See also ECF No. 84 at 8.) In 2009 and 2011, the company’s founders appeared on The

Celebrity Apprentice. (Compl. ¶¶ 99-103.) During the 2011 episode, Mr. Trump stated, “[O]n

my right are two friends of mine, Greg Provenzano and Mike Cupisz. They run a company

called ACN, which I know very well. It’s a home-based marketing company for individuals and

it’s in over twenty countries. Greg, tell us about your company.” (ECF No. 85, Exh. 10-T at 1.)

        B.     Plaintiffs Fail to Recoup Their Enrollment Fees

        Once enrolled, Plaintiffs found only limited success as IBOs. Doe renewed her ACN

subscription for a second year and persuaded her sister to enroll as an IBO before concluding that

the ACN business opportunity was no longer a worthwhile investment. (Compl. ¶¶ 202-03, 211;

see also id. ¶ 216.) Loe recruited his friend Doe, but never received any income from ACN and

“came to realize that . . . ACN was not a good money making opportunity and decided not to

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renew his membership.” (Id. ¶¶ 22, 227-28.) Mary Moe “immersed herself in information about

[ACN].” (Id. ¶ 270). She watched ACN videos, read ACN pamphlets, and attended “dozens of

meetings” hosted by more senior IBOs. (Id. ¶¶ 270-75.) Moe enrolled her son in ACN and

renewed her subscription for a second year. (Id. ¶ 278.) “She believed that she could become

the next [star IBO] if she tried hard enough,” but she was “unable to find success.” (Id. ¶¶ 277-

78.) Richard Roe worked with an IBO “mentor” who taught him to use the ACN business tools,

but Roe found it difficult to recruit new IBOs or to sell ACN products or services, and once his

“mentor stopped reached out to him,” he had no motivation to continue. (Id. ¶¶ 249-56.)

                                           ARGUMENT

       Under theories of equitable estoppel and agency, the Court should stay all further

proceedings in this case in favor of individual arbitration.

I.     The FAA and Precedent Require the Court to Enforce the Arbitration Agreement

       The Arbitration Agreement is governed by the Federal Arbitration Act (“FAA”). (Ex. A

& B, ¶ 16; Ex. C, ¶ 17.) “The FAA was enacted in 1925 in response to widespread judicial

hostility to arbitration agreements.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339

(2011). Under FAA Section 2, a written arbitration agreement “shall be valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract.” 9 U.S.C. § 2. “The [FAA] reflects an ‘emphatic federal policy in favor of arbitral

dispute resolution.’” KPMG LLP v. Cocchi, 565 U.S. 18, 21 (2011) (quoting Mitsubishi Motors

Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985)). The FAA, and the strong

federal policy favoring arbitration that it embodies, requires courts to “rigorously enforce

agreements to arbitrate.” See Mitsubishi Motors Corp., 473 U.S.at 626. FAA Section 4 provides

that “[a] party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a



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written agreement for arbitration may petition any United States district court . . . for an order

directing that such arbitration proceed in the manner provided for in such agreement.” 9 U.S.C.

§ 4. Where, as here, a valid arbitration agreement covers the dispute at issue, a district court

must compel arbitration. See Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (“By

its terms, the [FAA] leaves no place for the exercise of discretion by a district court”).

II.     The Court Should Compel Arbitration and Stay the Case

        A.     Plaintiffs Agreed to Arbitrate these Claims

        In determining whether a dispute is arbitrable, a court must resolve the following

questions: (1) whether there exists a valid agreement to arbitrate; and (2) whether the particular

dispute sought to be arbitrated falls within the scope of the arbitration agreement. See Lewis

Trees Serv., Inc. v. Lucent Techs. Inc., 239 F. Supp. 2d 332, 335-36 (S.D.N.Y. 2002) (abrogated

on other grounds) (citing Oldroyd v. Elmira Sav. Bank, FSB, 134 F.3d 72, 75 (2d Cir. 1998)

(abrogated on other grounds)). In resolving these questions, “courts must ‘construe arbitration

clauses as broadly as possible,’ and ‘any doubts concerning the scope of arbitrable issues should

be resolved in favor of arbitration.’” Id. at 336; see also Moses H. Cone Mem’l Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983); Guyden v. Aetna, Inc., 544 F.3d 376, 382 (2d

Cir. 2008) (“The FAA embodies the ‘liberal federal policy favoring arbitration agreements’ and

‘establishes that, as a matter of federal law, any doubts concerning the scope of arbitrable issues

should be resolved in favor of arbitration.’”). The federal presumption of arbitrability requires

that arbitration be compelled unless it may be said with “positive assurance” that the parties’

agreement “is not susceptible of an interpretation that covers . . . the dispute.” U.S.W.A. v.

Warrior & Gulf Navigation Co., 363 U.S. 574, 582-83 (1960).

        Plaintiffs do not dispute that they accepted the terms and conditions set forth in the



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Arbitration Agreement (ECF No. 94, Ex. B; ECF No. 104 at 1-3), and for purposes of this

motion, the Court has instructed the parties to assume that they did (ECF No. 106). The FAA

declares that an arbitration agreement “shall be valid, irrevocable, and enforceable, save upon

such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

Plaintiffs have not challenged the enforceability of the Arbitration Agreement (ECF No. 94, Ex.

B; ECF No. 104 at 1-3), and the Arbitration Agreement requires such questions to be resolved

“pursuant to the Commercial Rules of Arbitration,” (Ex. A & B, ¶ 16; Ex. C, ¶ 17), Rule 7(a) of

which delegates to the arbitrator “any objections with respect to the existence, scope, or validity

of the arbitration agreement or to the arbitrability of any claim or counterclaim.” AAA

Commercial Rules, R-7(a); see also Contec Corp. v. Remote Sol., Co., 398 F.3d 205, 208 (2d Cir.

2005) (“[W]hen, as here, parties explicitly incorporate rules that empower an arbitrator to decide

issues of arbitrability, the incorporation serves as clear and unmistakable evidence of the parties’

intent to delegate such issues to an arbitrator.” (discussing AAA Commercial Rule 7(a))).

       Claims that ACN and Defendants fraudulently induced Plaintiffs to enter into IBO

Agreements that proved worthless indisputably “aris[e] out of or relat[e] to” those contracts, such

that Plaintiffs claims are covered by the Arbitration Agreement. (Ex. A & B, ¶ 16.) Plaintiffs

allege ACN used its affiliation with Mr. Trump and his family to induce them to join ACN.

(Compl. ¶¶ 16-20.) For their part, Defendants assured Plaintiffs that ACN had the business

model, experience, marketing tools and technology to ensure their success as IBOs. (Id.) Once

signed up, Plaintiffs allege, they discovered that ACN was a scam – that it was all but impossible

to recoup even their modest enrollment fees let alone grow a business large enough to employ

others, as the ACN business model promised. (Id.) Plaintiffs’ fraud claims thus impugn ACN’s

performance under the contracts it signed with them. Put differently, Plaintiffs will not prevail



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upon a theory that they failed as IBOs because of something Defendants said or did (that is why

the RICO claims failed), they instead will have to show ACN failed to deliver what it promised

under the IBO Agreements, a dispute plainly “arising out of or relating to” those Agreements.

       B.      Principles of Agency and Equitable Estoppel Require Arbitration

       “Under principles of estoppel, a non-signatory to an arbitration agreement may compel a

signatory to that agreement to arbitrate a dispute where a careful review of the relationship

among the parties, the contracts they signed …, and the issues that had arisen among them

discloses that the issues the non-signatory is seeking to resolve in arbitration are intertwined with

the agreement that the estopped party has signed.” Ragone v. Atl. Video at Manhattan Ctr., 595

F.3d 115, 126-27 (2d Cir. 2010) (alteration in original, internal quotation marks omitted). With

respect to this requirement, a party to an arbitration agreement may not allege a scheme to

defraud by entity A (a signatory) and a non-signatory, where the fraud arises from the

relationship between plaintiff and entity A, and then “escape the consequences of those

allegations by arguing that [the non-signatory] and [entity A] lack the requisite close relationship

or that plaintiffs’ claims against the [non-signatory] are not connected to [the non-signatory’s]

relationship with [entity A].” Denney v. BDO Seidman, LLP, 412 F.3d 58, 70 (2d Cir. 2005).

       “In addition to the ‘intertwined’ factual issues, there must be a relationship among the

parties of a nature that justifies a conclusion that the party which agreed to arbitrate with another

entity should be estopped from denying an obligation to arbitrate a similar dispute with the

adversary which is not a party to the arbitration agreement.” Ragone, 595 F.3d at 127 (internal

quotation marks and modifications omitted). The test is objective. It looks “‘not to evidence that

the estopped party actually intended or expected that any dispute with the non-signatory would

be subject to arbitration,’” Fensterstock v. Educ. Fin. Partners, 2012 WL 3930647, at *4



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(S.D.N.Y. 2012), but, rather, it asks whether plaintiff’s agreement to arbitrate is “reasonably seen

. . . as extending not only to the other signatory, but also to a non-signatory related to the latter

. . . that was, or would predictably become, with the knowledge and consent of the party

opposing arbitration, affiliated or associated with the other signatory in such a manner as to make

it unfair to allow the party opposing arbitration to avoid its commitment to arbitrate on the

ground that the non-signatory was not the very entity with which the party opposing arbitration

had a contract.” Ross v. Am. Exp. Co., 547 F.3d 137, 145-46 (2d Cir. 2008) (internal quotation

marks and modifications omitted) (quoting Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d

354, 361 (2d Cir. 2008)). In other words, given the information available to plaintiff at the time

it agreed to arbitrate with entity A, including information plaintiff had about the relationship

between entity A and a non-signatory, was it “reasonabl[e]” or “predictabl[e],” Ross, 547 F.3d at

145, under all of the circumstances, for plaintiff to anticipate that disputes between it and the

non-signatory could be governed by the arbitration agreement it signed with entity A.

        Separate and apart from the doctrine of equitable estoppel, an agency relationship

between a contracting party and a non-signatory may supply a basis for compelling arbitration

with a non-signatory. While it is an open question in the Second Circuit, Ross, 547 F.3d at 143

n.3, courts in this district have held that “employees or disclosed agents of an entity that is a

party to an arbitration agreement are protected by that agreement.” Alghanim v. Alghanim, 828

F. Supp. 2d 636, 650 (S.D.N.Y. 2011) (internal quotation marks omitted); see also Fensterstock,

2012 WL 3930647 at *4 (“an agent of a signatory to a contract is one of the parties entitled to

invoke the arbitration provisions” (citing Ross, 547 F.3d at 144)); Dunmire v. Hoffman, 2006 WL

2466248, at *3 (S.D.N.Y. Aug. 24, 2006) (“Generally, employees or disclosed agents of an entity

that is a party to an arbitration agreement are protected by that agreement.”).



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            Plaintiffs’ claims are arbitrable under either theory. Under the doctrine of equitable

    estoppel, the claims against Defendants are plainly “intertwined with” the agreement that

    Plaintiffs signed with ACN. The Complaint alleges that, on ACN video disks shown at ACN

    IBO meetings, in ACN print media and at ACN rallies, Mr. Trump misrepresented the business

    opportunity offered by ACN and whether he was being paid to do so. (Compl. ¶¶ 88-96.)

    Plaintiffs contend ACN was “central to” the claims against Defendants (id. ¶ 16), and that Mr.

    Trump’s endorsement was “critical” to the success of ACN (id. ¶ 85). “It was ACN’s ability to

    associate itself with the Trump brand – a right that ACN secretly bought from the Trump

    Enterprise – that drove the fraudulent message home and pushed investors to overcome lingering

    doubts and invest in the ACN business opportunity,” they allege. (Id. ¶ 177; see also id. ¶ 170

    (“ACN itself . . . boasted of its relationship with Trump and the legitimacy the Trump brand

    afforded the Company”); id. ¶ 173 (“ACN made . . . clear that Trump’s brand was an impactful

    recruiting tool for [IBOs] in two principal ways: first, it attracted the interest of prospective

    [IBOs] and second, it would help close the deal with prospective recruits”); id. ¶ 174 (“One of

    the most important tools available to ACN representatives today is obviously the Donald J.

    Trump endorsement” (emphasis removed)).) 4

            The requisite relationship between Plaintiffs and Defendants is also present. Over nearly

    200 pages, Plaintiffs sound a single complaint: They signed up as IBOs, paid money to ACN

    and sustained damages for one reason, they believed the endorsement of Mr. Trump that they

    saw on ACN videos, read about in ACN magazines and heard discussed at ACN meetings.

    Accordingly, at the time Plaintiffs became IBOs, it was predictable – indeed it was obvious –



4
    These facts likewise establish an agency relationship between ACN and Defendants sufficient to compel Plaintiffs
    to arbitrate with Defendants on that basis. (See also ECF No. 86 at 4 (Defendants perpetrated a fraud “on behalf of
    ACN”); id at 14 (ACN paid Mr. Trump “to speak on the Company’s behalf”).)

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that any dispute that might arise between them and ACN concerning the ACN business

opportunity would likely implicate Mr. Trump. This case thus fits the “pattern” of decisions in

this Circuit that have applied the doctrine of equitable estoppel to require signatories to arbitrate

with non-signatories where the promise to arbitrate by Plaintiffs is “reasonably seen . . . as

extending not only to the other signatory, but also to a non-signatory related to the latter . . . that

was, or would predictably become, with the knowledge and consent of the party opposing

arbitration, affiliated or associated with the other signatory in such a manner as to make it unfair

to allow the party opposing arbitration to avoid its commitment to arbitrate on the ground that the

non-signatory was not the very entity with which the party opposing arbitration had a contract.”

Ross, 547 F.3d at 145-46 (internal quotation marks and modifications omitted).

        In Ragone, for example, the Court of Appeals found equitable estoppel where plaintiff, a

make-up artist, sued her employer (the production company with whom she agreed to arbitrate)

and ESPN, a client of her employer with whom she interacted while performing services for her

employer. There, “Ragone admit[ted] she knew from the date of her employment by AVI that

she would work with and be supervised by ESPN personnel in the ordinary course of her daily

duties. This knowledge that she would extensively treat with ESPN personnel is sufficient to

demonstrate the existence of a relationship between Ragone and ESPN that allows the latter to

avail itself of the arbitration agreement between Ragone and AVI.” 595 F.3d at 128. In Denney,

the Court of Appeals found the requisite relationship between plaintiffs and Deutsche Bank (a

non-signatory), where the lawsuit accused Deutsche Bank and BDO of acting in concert to

market fraudulent tax shelters to plaintiffs, and Deutsche Bank’s contacts with plaintiffs arose in

connection with plaintiffs’ dealings with BDO (with whom plaintiffs agreed to arbitrate). See

412 F.3d at 70; see also Bankers Conseco Life Ins. Co. v. Feuer, 2018 WL 1353279, at *6-7



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(S.D.N.Y. Mar. 15, 2018) (same where the complaint alleged that an affiliate and individual

officers of that affiliate, with whom plaintiffs did not agree to arbitrate, fraudulently induced

plaintiffs to contract with reinsurer, with whom plaintiffs did agree to arbitrate); Cooper v. Ruane

Cunniff & Goldfarb Inc., 2017 WL 3524682, at *6-8 (S.D.N.Y. Aug. 15, 2017), appeal

withdrawn, 2017 WL 8219086 (2d Cir. Dec. 19, 2017) (same where plaintiff “received a stream

of information about [non-signatory] Ruane’s role as the sole investment manager – through Plan

documents, account statements and investment fee notices”); Fensterstock, 2012 WL 3930647 at

*4 (same where plaintiff “worked with [non-signatory] ACS almost from the very beginning of

his loan repayment, and ACS served as [signatory] EFP's agent for the servicing of [plaintiff’s]

loan”).

          In an effort to avoid this precedent, Plaintiffs claim that they believed Mr. Trump was

“distinct” from ACN and an “objective observer[]” of the company rather than an “agent[] or

employee[].” (ECF No. 104 at 2.) This badly mischaracterizes the Complaint, which accuses

ACN of overtly and aggressively marketing its close relationship with the Trumps to prospective

IBOs, including Plaintiffs, (see e.g., Compl. ¶¶ 170-75), for the mutual benefit of ACN and

Defendants, see id. n. 75 at 07:17 (“So let’s talk about the extended relationship that you have

with ACN”); id. n. 79 at 01:15, 01:24 (“You . . . have lots of choices, the opportunity to be

involved with lots of companies, to endorse and have a relationship with endless opportunities,”

and “with all these choices, you’ve decided that you will now choose to be exclusive with

ACN”); id. n. 66 at 02:29 (“ACN and everyone involved has really enjoyed their partnership

with you, have you enjoyed the partnership with them? I have and we’ve just extended it so I’m

very happy about that”); id. n. 99 at 01:31 (“I am asked to do this, what you’re doing with me,

many, many times, and I turn down many, many different proposals”).



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         In fact, the Court of Appeals has declined to apply the doctrine of equitable estoppel only

rarely, and on facts readily distinguishable from these. See Medidata Sols., Inc. v. Veeva Sys.

Inc., 748 F. A’ppx. 363, 367 (2d Cir. 2018) (refusing to find equitable estoppel, where

competitor “allegedly poach[ed]” plaintiffs’ employees and, when sued, sought to avail itself of

the arbitration clause contained in plaintiffs’ agreements with those employees, because “there is

‘no unfairness’ in denying equitable estoppel to a defendant who became ‘aligned or associated’

with a signatory to the arbitration agreement ‘by wrongfully inducing [the signatory] to breach

its obligation [to the plaintiff] under that contract’” (second and third alterations in original));

Ross, 547 F.3d at 148 (same where non-signatory defendant Amex was a “complete stranger” to

plaintiffs and to the banks, each a competitor of Amex, who issued plaintiffs’ credit cards and

with whom plaintiffs agreed to arbitrate); Sokol, 542 F.3d at 362 (same, where the proffered

“close relationship” between the non-signatory and plaintiff arose entirely from the non-

signatory’s tortious interference with the contract containing the arbitration clause). Mr. Trump

was not a competitor or rival of ACN, nor is he accused of interfering with the IBO Agreements

he now seeks to enforce or of being a “stranger” to Plaintiffs, so removed from their dealings

with ACN that it would be unfair to require them to arbitrate their claims against him. 5

III.     The Motion to Compel Arbitration is Timely

         “In determining whether a party has waived its right to arbitration by expressing its


5
  The Class Action Fairness Act “provides the federal district courts with ‘original jurisdiction’ to hear a ‘class
action’ if the class has more than 100 members, the parties are minimally diverse, and the ‘matter in controversy
exceeds the sum or value of $5,000,000.’” Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 592 (2013) (quoting 28
U.S.C. § 1332). Here, Plaintiffs purport to represent and seek certification of various classes, “consisting of . . .
persons and entities who . . . invested in, subscribed or made payments to ACN.” (Compl. ¶¶ 397-400, 405-408.)
But if Defendants may invoke the arbitration clause contained in the IBO Agreements, and if the Court is prepared
to assume at this time that all putative class members signed such agreements (ECF No. 106), then Plaintiffs cannot
possibly satisfy CAFA’s minimum thresholds, and federal jurisdiction is lacking over the state law claims that
remain. See Horton v. Dow Jones & Co., Inc., 2019 WL 952314, at *1 (S.D.N.Y. Feb. 27, 2019) (dismissing
putative class claims based on class waiver and arbitration agreement and declining to exercise discretionary
supplemental jurisdiction over state law claim despite CAFA jurisdiction).

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intent to litigate the dispute in question, we consider the following three factors, ‘(1) the time

elapsed from when litigation was commenced until the request for arbitration; (2) the amount of

litigation to date, including motion practice and discovery; and (3) proof of prejudice.’” La.

Stadium & Exposition Dist. v. Merrill Lynch, 626 F.3d 156, 159 (2d Cir. 2010). “There is no

rigid formula or bright line rule” for identifying when a party has waived. Id. “[T]he above

factors must be applied to the specific context of each particular case. That said, ‘the key to a

waiver analysis is prejudice. Waiver of the right to compel arbitration due to participation in

litigation may be found only when prejudice to the other party is demonstrated.’” Id. (internal

modifications omitted) (citing Thyssen, Inc. v. Calypso Shipping Corp., S.A., 310 F.3d 102, 105

(2d Cir. 2002)). The Court of Appeals recognizes “two types of prejudice: substantive prejudice

and prejudice due to excessive cost and time and delay.” Id. (citing Thyssen, Inc., 310 F.3d at

105; PPG Indus. v. Webster Auto Parts, Inc., 128 F.3d 103, 107 (2d Cir.1997)). “Incurring legal

expenses inherent in litigation without more, is insufficient evidence of prejudice to justify a

finding of waiver.” PPG Indus., 128 F.3d at 107 (citing Leadertex, Inc. v. Morganton Dyeing &

Finishing Corp., 67 F.3d 20, 26 (2d Cir. 1995)). Finally, the Supreme Court of the United State

has made clear that, “as a matter of federal law, any doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration, whether the problem at hand is the construction

of the contract language itself or an allegation of waiver, delay, or a like defense to

arbitrability.” Cone Mem’l Hosp., 460 U.S. at 24-25.

       Plaintiffs cannot establish prejudice from the delay between the filing of the action in

October 2018 and Defendants’ raising with the Court their intention to seek to compel Plaintiffs

to arbitrate in July. Defendants have not yet answered, and discovery was stayed. The only

litigation in this Court, other than Plaintiffs’ motion to proceed pseudonymously and



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Defendants’ motion to stay discovery, was Defendants’ Rule 12(b)(6) motion, and Defendants

raised with the Court their intention to compel Plaintiffs to arbitrate whatever claims remained

following decision on that motion before it was decided. (ECF No. 94.) Litigation costs such as

those incurred by Plaintiffs in opposing the motion to dismiss and amending the complaint, as a

matter of law do not support waiver. Further, over Defendants’ objection, the Court permitted

Plaintiffs to shield their identities not only from the public docket, but also from Defendants,

pending decision on the motion to dismiss. As a result, Defendants did not know Plaintiffs’

names and could not discover from ACN the arbitration agreements at issue until July 24, 2019,

when the Court decided that motion and Plaintiffs’ right to remain pseudonymous expired. Any

purported “delay” therefore should be measured not from the filing of Plaintiffs’ pseudonymous

pleading, but from July 24 and, as noted, Defendants brought to the Court’s attention their

intention to seek to compel Plaintiffs to arbitrate whatever claims survived the motion to dismiss

on July 19. (ECF No. 94.)

       Under such circumstances there is no waiver. See Rush v. Oppenheimer & Co., 779 F.2d

885, 887-91 (2d Cir. 1985) (finding motion to compel arbitration timely after defendant filed its

motion to dismiss, answered, and participated in discovery); accord Sweater Bee by Banff, Ltd. v.

Manhattan Indus., Inc., 754 F.2d 457, 463-66 (2d Cir. 1985) (motion to compel arbitration

timely after 12(b)(6) motion was briefed and decided); Gonder v. Dollar Tree Stores, Inc., 144

F. Supp. 3d 522, 527 (S.D.N.Y. 2015) (“Merely answering on the merits, appearing at hearings,

and participating in discovery, without more, will not necessarily constitute a waiver”) (citation

omitted); Jung v. Skadden, Arps, Slate, Meagher & Flom, LLP, 434 F. Supp. 2d 211, 218

(S.D.N.Y. 2006) (granting defendant’s motion to stay case and compel arbitration even after

decision on Rule 12(b)(6) motion). Whatever doubt the Court may have in this regard,



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moreover, it must be resolved in favor of arbitration. Cone Mem’l Hosp., 460 U.S. at 24-25.

       Nor may the Court find waiver with respect to unnamed putative class members, because

“[n]either a proposed class action nor a rejected class action may bind nonparties.” Smith v.

Bayer Corp., 564 U.S. 299, 315 (2011). See also Knowles, 568 U.S. at 593 (“[A] plaintiff who

files a proposed class action cannot legally bind members of the proposed class before the class

is certified.”). The Court of Appeals for the Eleventh Circuit recently addressed this issue in

Gutierrez v. Wells Fargo Bank, NA, 889 F.3d 1230 (11th Cir. 2018). There, Wells Fargo faced a

putative class action by bank customers alleging that they had been charged unlawful overdraft

fees. Id. at 1233. The bank elected not to compel the named plaintiffs to arbitrate, but, in

opposition to class certification, it filed conditional motions to compel the unnamed class

members to arbitrate and argued that because all of its customers had signed agreements with

arbitration provisions, “there simply would not be enough class members to make a class action

viable.” Id. at 1235. The District Court certified the class and denied the bank’s motion to

compel arbitration, finding Wells Fargo had waived its right to arbitrate with the unnamed class

members. Id. The Eleventh Circuit vacated that order, explaining that “it cannot be said that

Wells Fargo’s failure to seek arbitration with the unnamed class members prior to class

certification manifested inconsistency with its arbitration rights,” because “it would have been

impossible in practice to compel arbitration against speculative plaintiffs and jurisdictionally

impossible for the District Court to rule on those motions before the class was certified.” Id. at

1238. Put simply, “the unnamed class members were putative at that point” meaning that “any

plaintiffs beyond those named in the complaint are speculative and beyond the reach of the

Court’s power,” such that “Wells Fargo would not even have been able to identify the specific

plaintiffs against which it planned to seek arbitration, much less ascertain its arbitration-related



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rights as to them.” Id. (emphasis removed). The same logic applies here.

        The cases cited by Plaintiffs (ECF No. 104 at 2-3) are inapposite. In Merrill Lynch, the

Court of Appeals for the Second Circuit found waiver where the plaintiff sought to withdraw its

own lawsuit in favor of arbitration eleven months after filing the action. 626 F.3d at 159-60.

Merrill won “several key procedural victories” before plaintiffs sought to reverse course and

compel the bank to arbitration, successfully removing plaintiffs’ parallel Louisiana state court

action to federal court, filing a motion to transfer that case to this District, moving to stay that

action pending decision by an MDL panel concerning consolidation of the actions with similar

actions, answering plaintiffs’ third amended complaint, submitting a 19-page single-spaced letter

to plaintiffs outlining deficiencies in the complaint, and beginning work on a motion to dismiss

before plaintiffs had second thoughts about their lawsuit and sought to arbitrate instead. Id.

        In Leadertex, the Court of Appeals affirmed the District Court’s waiver determination,

but not on the basis of delay or litigation expense, as Plaintiffs are constrained to do here. 67

F.3d at 27. In Leadertex, the defendant waited until the eve of trial to file its petition for

arbitration. Id. at 24. In the seven months prior, it answered the complaint and “vigorously

pursued discovery, submitting multiple prolix interrogatories,” even as plaintiff “evaded

discovery with almost equally energetic foot-dragging, producing only a handful of the

documents requested, giving late and unresponsive answers to interrogatories or none at all and

failing to produce witnesses for scheduled depositions.” Id. Plaintiff, meanwhile, moved for and

won partial summary judgment. Id. The District Court found plaintiff “had suffered severe

economic prejudice by [defendant’s] delay in seeking relief and by [defendant’s] having availed

itself of the liberal discovery rules in the federal court system,” and that defendant was “seeking

to ‘have it both ways,’ by taking advantage of pre-litigation procedures for a number of months



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and then asserting its right to arbitration.” Id. The Court of Appeals affirmed the finding of

waiver, but rejected the bases relied upon by the trial court, delay and litigation expense. Id. at

26-27. “[H]owever unjustifiable [defendant’s] conduct, there can be no waiver unless that

conduct has resulted in prejudice to the other party,” the Court held. Id. at 26. “Since it divulged

no significant information in discovery, the only prejudice [plaintiff] can claim is the expense

and delay inherent in the procedure. But pretrial expense and delay – unfortunately inherent in

litigation – without more, do not constitute prejudice sufficient to support a finding of waiver.”

Id. Instead, the Court found prejudicial the “economic harm” to “[plaintiff’s] business” as a

consequence of its goods being held by defendant and unavailable for sale during the pendency

of the case, a factor not present here. Id. at 27.

        In Kramer v. Hammond, 943 F.2d 176 (2d Cir. 1991), the Court of Appeals found waiver

where the defendant waited four years to file its petition. During that time defendant “engaged

in extensive pretrial litigation, apparently designed to wear down his opponent,” including by

noticing plaintiff’s deposition, prosecuting appeals in the highest courts of two states, filing a

petition for certiorari in the Supreme Court of the United States, and moving for summary

judgment. Id. at 179. The Court similarly found waiver due to expense and delay in Com-Tech

Assoc. v. Computer Assoc., 938 F.2d 1574, 1577-78 (2d Cir. 1991), where “plaintiffs were put to

the expense not only of engaging in depositions, but also of defending motions for judgment on

the pleadings and partial summary judgment.” Id. at 1577.

                                          CONCLUSION

        For the foregoing reasons, the Court should stay this action and order Plaintiffs to submit

their dispute with Defendants to individual arbitration.




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                               Respectfully submitted,

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